     Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 1 of 9 PageID# 207




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

CHRISTINE J. GILLAM, et al, on behalf of
themselves and all individuals similarly situated,
                      Plaintiffs,

v.                                                            Civil Action No. 3: 17-cv-722

BRANCH BANKING AND TRUST COMPANY
OF VIRGINIA D/B/A/ BB&T,
                 Defendant.

                                            OPINION

       The plaintiffs in this case claim that the defendant, BB&T, failed to honor stop-payment

requests out of their bank accounts. BB&T moved to compel arbitration based upon the tem1s of

the plaintiffs' bank services agreements.      Under the agreements, the parties contracted to

arbitrate disputes arising from their banking relationship. They also agreed to arbitrate threshold

issues of arbitrability, including the scope and validity of their agreement. The Court therefore

grants the motion and dismisses the case without prejudice.

                                            I. FACTS

       Christine and Ronnie Gillan1 and Elwood Bumbray brought this class action suit against

Branch Banking and Trust Company ("BB&T") under the Electronic Fund Transfer Act for

failing to comply with their customers' requests to stop payment on preauthorized

transactions. The defendant moved to compel arbitration under the tenns of the Bank Services

Agreement ("BSA").

       The Gillams initially opened a bank account with F&M Bank. In 2002, F&M merged

with BB&T, automatically transferring the Gillams' account to BB&T. Before the merger, by
   Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 2 of 9 PageID# 208




protocol, BB&T sent the Gillams a ''Welcome Letter" with a copy of the 2002 BSA. The 2002

BSA provided that:

       When you open or maintain a deposit account with the Bank, you are agreeing to
       the te1ms of this Bank Services Agreement ('"Agreement"). The terms of this
       Agreement may be amended from time to time by the Bank. Amendments to this
       agreement will be accomplished by written notice to you. The notice may be
       included in your account statement. The notice may state that there has been a
       change in this Agreement and instruct you to pick up a revised Agreement at your
       local branch. Continued use of the account following notice of amendment
       constitutes acceptance of any amendment to this Agreement.

(Dk. No. 8-3, Ex. C).

       Bwnbray opened a BB&T account in 2017 and received the then-current 2016 BSA. He

signed a BB&T signature card agreement, which stated in part: "By my signature, I hereby

certify that . . . I have received the 'Bank Services Agreement' ... and agree to accept the tenns

.... "(Dk.No. 8-1, Ex. A). The 2016 BSA provided that:

        The terms of this Agreement ... may be changed from time to time by the Bank.
       Changes will be accomplished by written or electronic notice to you. The notice
       may be included on your account statement. It will explain what change has
       occurred and instruct you to obtain a current version of the agreement at your
       local branch or online at our website, www.BBT.com. Continued use of your
       account following a notice constitutes your acceptance of our changes. Upon the
       effective date of change, the current revised version of the Agreement will govern
       your account, regardless of whether you obtained a copy from your branch or
       online.

(Dk. No. 8-2, Ex. B).

       In April 2017, BB&T updated the BSA and provided written notice to Bumbray and the

Gillams through their bank statements, stating: (1) the arbitration clause of the BSA had been

changed to the provided new language, (2) continued use of the account constituted acceptance

of the changes, and (3) to find the an1ended 2017 Bank Services Agreement online. Specifically,

the April 2017 amendment notice provided:

       The following change has been made to the Bank Services Agreement ("BSA")
       that you were provided when you opened your account at BB&T. Continued use
       of your account after the effective date of this Amendment constitutes your

                                                2
   Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 3 of 9 PageID# 209




       acceptance of the change. You are directed to obtain the most cmTent version of
       the BSA from any branch or online at www.bbt.com ....

        Any dispute, claim, controversy or cause of action, that is filed in any court and
       arises out of or relates to this Agreement or breach, termination, enforcement,
       interpretation of validity thereof, including the determination of the scope or
       applicability of this agreement, shall be determined by arbitration before one
       arbitrator at a location mutually agreed upon in the state where your account is
       maintained, or as may be otherwise required under the JAMS Minimum
       Consumer Standards, which is incorporated by reference herein. The arbitration
       shall be administered by JAMS pursuant to its streamlined Arbitration Rules and
       Procedures.

(Dk. No. 8-10, Ex. J) (emphasis added).

                                          II. ANALYSIS

        "In the Fourth Circuit, a litigant can compel arbitration under the Federal Arbitration Act

("FAA"), 9 U.S.C. § 1 et seq., 'if he can demonstrate (1) the existence of a dispute between the

parties, (2) a written agreement that includes an arbitration provision which purports to cover the

dispute, (3) the relationship of the transaction, which is evidenced by the agreement, to interstate

or foreign commerce, and (4) the failure, neglect or refusal of the defendant to arbitrate the

dispute." Adkins v. Labor Ready, Inc., 303 F.3d 496, 500-01 (4th Cir. 2002). The plaintiffs say

that they need not arbitrate because BB&T cannot prove the second element, a valid written

agreement to arbitrate. They claim that the BSA fails for two reasons: First, they say they never

entered the agreement. Second, they say the BSA is illusory and unconscionable.

                                           i. Formation

       The plaintiffs contest contract formation at two stages. First, they claim that they never

entered into any binding agreement with BB&T. Second, they claim that they did not agree to

the modified contract te1ms in the most recent 2017 BSA that contains the contested arbitration

clause. Both arguments fail.

        To determine whether the parties agreed to arbitrate, courts apply state law principles

governing contract formation. Hightower v. GAtfRL Inc., 272 F.3d 239, 242 (4th Cir. 2001)

(citing First Options of Chicago. Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). "Virginia contract


                                                 3
    Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 4 of 9 PageID# 210




law requires the standard elements of offer, acceptance, and consideration for the formation of a

valid contract." Hill v. Alstom Power, Inc., No. 3:13-CV-00496-JAG, 2013 WL 6408416, at *2

(E.D. Va. Dec. 6, 2013). Contract formation requires mutual assent of the parties, which "may

be inferred from the acts and conduct of the parties." Durham v. Nat 'l Pool Equip. Co. of Va.,

205 Va. 441, 445, 138 S.E.2d 55, 58 (1964). "[M]anifesting acceptance by engaging in activity

explicitly recognized as such in the governing contract provisions is sufficient to demonstrate

assent under Virginia law." Klein v. Verizon Commc 'ns, Inc., No. 112CV00757GBLIDD, 2017

WL 5071306, at *4 (E.D. Va. Aug. 9, 2017) (citing In re Frye, 216 B.R. 166, 171 (E.D. Va.

1997) (holding that a party may convey his acceptance of a contract to another party "in a variety

of ways so long as the actions or conduct can be interpreted objectively as constituting an
acceptance")).

       Virginia recognizes the use of signature cards as a valid means of agreeing to a

contract. Fleming v. Bank of Virginia, 231 Va. 299, 305, 343 S.E.2d 341, 344 (1986)

(citing Colley v. Cox, 209 Va. 811, 814, 167 S.E.2d 317, 319 (1969)) ("The signature card

constitute[s a] contract between the parties and, subject to the statutory scheme, regulates their

rights and duties.") Finally, "a mutual promise to arbitrate itself constitutes sufficient

consideration for an arbitration agreement." Tarpley v. Livings, No. 4: 16-CV-00021, 2016 WL

4537751, at *4 (W.D. Va. Aug. 30, 2016).

       Applying these principles here, the Com1 finds that the parties entered into the BSA

contracts. Bumbray signed the signature card, agreeing to be bound by the contract. Whether he

read the terms of the contract or not, he agreed to be bound by its terms. Similarly, the Gillams

received the welcome letter from BB&T after BB&T took over their F&M bank accounts. 1 The

letter referred to the BSA, which said that by maintaining a bank account with BB&T, they

agreed to the terms of the agreement. They did not need to sign anything where the express


1
  BB&T says that it would have sent the welcome letter as a matter of course. In opposition to
the present motion, the Gillams say that BB&T does not have the copy actually sent to them, but
they never argue that they did not receive the letter.
                                                4
   Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 5 of 9 PageID# 211




terms of the offer indicated that continued use of the account would constitute acceptance of the

tem1s of the agreement. By receiving the BSA and continuing to use the bank, the Gillams

engaged in activity explicitly recognized in the contract and therefore agreed to be bound by the

terms of the BSA.

        Next, the plaintiffs agreed to the modifications to the initial agreement, including the

2017 BSA that contains the arbitration provision at issue. Contracts can contain provisions

saying that continued use will bind parties to modified contract terms. Klein, 2017 WL 5071306,

at *4 ("By continuing to use the internet services provided by Verizon, Klein manifested his

assent to the 2012 modification under the parameters specifically recognized as reflecting

acceptance under the terms of his contract.")           Here, the plaintiffs' initial BS As contained

provisions that allowed BB&T to modify the te1ms of the BSA by providing notice of the

change. The plaintiffs could close their accounts should they wish not to accept. When BB&T

updated the BSA in 2017, it provided written notice to the plaintiffs. That notice reminded them

that continued use of their bank accounts would constitute acceptance of the additional terms,

and then provided the arbitration clause. When the plaintiffs continued using their accounts, they

agreed to arbitrate disputes arising after that time.

                                        ii. Validity and Scope

        The plaintiffs next claim that the BSA is both unconscionable and illusory, and therefore

unenforceable.

       Through agreements referred to as "delegation provisions," "parties can agree to arbitrate

'gateway' questions of 'arbitrability,' such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy." Rent-A-Ctr., W, Inc. v. Jackson, 561

U.S. 63, 68-69 (2010). When faced with an arbitration agreement that seeks to turn issues of

arbitrability over to an arbitrator, "courts should not assume that parties agreed to arbitrate

arbitrability unless there is 'clea[r] and unmistakabl[e]' evidence that they did so." First Option


                                                   5
     Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 6 of 9 PageID# 212




of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995).              At least in contracts involving

sophisticated parties, the inclusion of language in an arbitration agreement that refers to the rules

of well-established arbitration rules indicates clear and convincing evidence that the parties

intended to arbitrate issues of arbitrability. Simply Wireless, Inc v. T-Mobile US, Inc, 877 F.3d

522, 527-28 (4th Cir. 2017) (''In the context of a commercial contract between sophisticated

parties, the explicit incorporation of JAMS Rules serves as 'clear and unmistakable' evidence of

the parties' intent to arbitrate arbitrability."); U.S. ex rel. Beauchamp v. Academi Training Ctr.,

Inc., No. l:11CV371, 2013 WL 1332028, at *6 (E.D. Va. Mar. 29, 2013) ("[T]he incorporation

of the AAA Commercial Rules (Expedited) is a 'clear and unmistakable' delegation of

arbitrability to the arbitrator.").

         In this case, the arbitration agreement contains a clear provision that says the arbitrator,

    and not the Court, determines the scope and validity of the contract:

         Any dispute, claim, controversy or cause of action, that is filed in any court and
         arises out of or relates to this Agreement or breach, termination, enforcement,
         interpretation of validity thereof, including the determination of the scope or
         applicability of this agreeme1it, shall be detennined by arbitration ....

(Dk. No. 8-10). It also says that JAMS will conduct the arbitration pursuant to its Streamlined

Arbitration Rules and Procedures.       The clear language sending issues of validity, scope, and

interpretation of the contract to an arbitrator, combined with the reference to the JAMS rules,

presents clear and umnistakable evidence that the parties agreed to arbitrate threshold issues.

         The plaintiffs, however, challenge the enforceability of the delegation provision by

claiming that it is illusory and unconscionable. They say it is illusory because BB&T could

change the terms without notice, retroactively, and at any time. 2 The plaintiffs note that, where



2
  In reality, the ·plaintiffs challenge the validity of the entire agreement, but the Court considers
the arguments only as they relate to the delegation provision.
                                                   6
    Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 7 of 9 PageID# 213




one party maintains unfettered discretion to modify the contract at any time, the party has not

bound itself any term. Caire v. Conffer Value Based Care, LLC, 982 F. Supp. 2d 582, 585 (D.

Md. 2013) (invalidating an arbitration agreement where the agreement's tem1s only bound an

employee and not an employer and where the employer could change the terms of the agreement

at any time). But here, BB&T could not change the terms of the delegation provision at any

time. Rather, it had to provide notice to the·plaintiffs, who could either accept the tenns through

continued use or reject the terms by terminating their bank accounts. No language within the
             1
BSA itself supports the idea that BB&T could make the changes retroactively, and the

continued use provision provided a valid means for BB&T to update the BSA. Since BB&T

could only amend the delegation provision on notice to the plaintiffs, and it is therefore

enforceable. 4

       Next, the plaintiffs claim that the delegation provision is unconscionable and lacks

mutuality.       "Unconscionability has both a substantive and procedural element. The former

requires a gross disparity in the value exchanged. The latter necessitates inequity and bad faith in

'the accompanying incidents . . . , such as concealments, misrepresentations, undue advantage,

oppressions on the part of the one who obtains the benefit, or ignorance, weakness of mind,

sickness, old age, incapacity, pecuniary necessities, and the like." Lee v. Fairfax Cty. Sch. Bd.,



3
   The plaintiffs point to real-world instances where BB&T made changes to the BSA and
provided notice after the fact, but the terms of the BSA would not make such modifications
binding without prior notice, so those instances to not bear on the enforceability of the
modifications at issue here, which the plaintiffs admit to having received.
4
   The plaintiffs also argue that the contract is an invalid contract of adhesion. Under Virginia
law, a contract of adhesion is '"a standard form contract, prepared by one party and presented to a
weaker party, usually a consumer, who has no bargaining power and little or no choice about the
terms." Philyaw v. Platinum Enters., Inc., 54 Va. Cir. 364, 366 (2001). Where one party can
choose from multiple competing services and walk away from the agreement at any time,
however, they do not lack bargaining power. Zak/it v. Glob. Linguist Sols., LLC, 53 F. Supp. 3d
835, 846 (E.D. Va. 2014) (quotations omitted). This argument fails.
                                                 7
   Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 8 of 9 PageID# 214




621 F. App'x 761, 763 (4th Cir. 2015). A contract is unconscionable when it is "such as no man

in his senses and not under delusion would make on the one hand, and as no honest and fair man

would accept on the other." Chaplain v. Chaplain, 54 Va. App. 762, 682 S.E.2d 108, 113 (2009).

Additionally, '"if it appears that one party was never bound on its part to do the acts which form

the consideration for the promise of the other, there is a lack of mutuality of obligation and the

other party is not bound."'. Cauvel v. Schwan 's Home Serv., Inc., No. 6:10-CV-00012, 2011 WL

573378, at *7 (W.D. Va. Feb. 10, 2011) (quoting Busman v. Beeren & Barry Jnvs., LLC, 69 Va.

Cir. 375, 378 (Va. Cir. Ct. 2005)). Here, the contract does not meet the stringent test of lack of

mutuality and unconscionability.

       As an initial matter, the delegation provision does not lack mutuality. BB&T had the

ability to change the terms of the agreement, but it could only do so on notice to the plaintiffs.

Both parties therefore promised to be bound by the terms of the delegation provision, and BB&T

could amend those terms only on notice to customers. Further, the parties agreed to use well

recognized arbitration organizations, and nothing in this case suggests that the arbitrator will

somehow favor BB&T. Simply put, nothing about an agreement to delegate threshold issues of

arbitrability to an arbitrator, even when one party can change the terms of that delegation at any

time on notice, rises to the level of unconscionability.

                                       III. CONCLUSION

       The parties in this case entered into an agreement in which they agreed to arbitrate

threshold contractual issues such as the contract's scope and validity. Before this Court may

hear the merits of the case, an arbitrator must therefore decide the validity of the overall

agreement and whether scope of the present dispute falls within the scope of the arbitration

provision. "[D]ismissal is a proper remedy when all of the issues presented in a lawsuit are



                                                  8
   Case 3:17-cv-00722-JAG Document 11 Filed 08/07/18 Page 9 of 9 PageID# 215




arbitrable." Choice Hotels Int '!, Inc. v. BSR Tropicana Resort, Inc., 252 F.3d 707, 709-10 (4th

Cir. 200 I) (emphasis added). With the issue of arbitrability referred to the arbitrator, nothing in

the plaintiffs' claims remains for the Court to consider. Accord ingly, the Court dismisses the

case without prejudice.

       The Court wi ll enter an appropriate Order.

       Let the Clerk send a copy of this Opini on to all counsel of record.




Date: August     7,20 18
                                                                         Isl
Richmond, Virginia                                      John A. Gibney, Jr.
                                                        United States District Judg




                                                 9
